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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

LARRY GRADY,                             )
AIS #143344,                             )
                                         )
       Plaintiff,                        )
                                         )
vs.                                      )
                                         ) CASE NO. 2:14-CV-991
LEEPOSEY DANIELS,                        )
                                         )
       Defendant.                        )

                         DEFENDANTS’ EXHIBIT LIST

       COMES NOW the Defendant, by and through the undersigned counsel, and

in accordance with this Court’s Order (Doc 53), submits the following list of exhibits

for the trial of the above-entitled matter.

       1.    Conviction report for murder charge in Lee County Circuit Court Case

Number CC-2003-455.

       2.    Plaintiff’s Classification Summary.

       3.    Conviction report for discharging a weapon into a vehicle/building

charge in Lee County Circuit Court Case Number CC-1994-414.

       4.    Conviction report for discharging a weapon into a vehicle/building

charge in Lee County Circuit Court Case Number CC-1994-414.

       5.    Plaintiff’s Inmate Movement History.

       6.    Plaintiff’s Lateral Transfer dated August 14, 2014.
                                              1
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        7.      Administrative Regulation 448 Inmate Mail.

        8.      Letter from Plaintiff to Commissioner Kim Thomas dated July 17,

2014.

        9.      Plaintiff’s J.F. Ingram Certificate dated May 2, 2016.

        10.     Plaintiff’s J.F. Ingram Certificate dated August 4, 2016.

        11.     Plaintiff’s J.F. Ingram Certificate in Electrical Technology dated

December 12, 2016.

        12.     Plaintiff’s J.F. Ingram Certificate in Electrical Technology –

Commercial/Industrial Wiring dated May 2, 2016.

        13.     Incident Report dated December 12, 2012.1

        14.     Disciplinary Report for incident occurring on December 12, 2012.

        15.     Incident Report dated February 10, 2015.

        16.     Disciplinary Report for incident occurring on February 10, 2015.

        17.     Incident Report dated April 20, 2017.

        18.     Disciplinary Report for incident occurring on April 20, 2017.

        19.     Excerpts from the book Thugalicious by Noire.

        20.     Excerpts from the book Hittin’ the Bricks: an Urban Erotic Tale by



1
  In accordance with the Court’s Order granting permission to take the Plaintiff’s deposition (Doc
58), the Plaintiff was provided with a copy of all exhibits used in the deposition. Exhibits listed
herein in bold print were not used in the Plaintiff’s deposition and therefore were not provided to
the Plaintiff at the deposition. Copies of the exhibits in bold print are being provided to the Plaintiff
with the service of this Exhibit List. All other exhibits were previously provided to the Plaintiff.
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Noire.

        21.   Laundry Complaint by Plaintiff dated June 9, 2015.

        22.   Second Laundry Complaint by Plaintiff apparently dated June 15,

2015.

        23.   Social Service Action Form dated December 22, 2009.

        24.   Two page Social Service Action Form dated May 12, 2014, with

second page being the fax sheet showing that the Social Service Action was

faxed.

                                     Respectfully Submitted,

                                     Steve Marshall
                                     Attorney General

                                     Anne A. Hill (ADA054)
                                     General Counsel

                                     /s/ Gary L. Willford, Jr.
                                     Gary L. Willford, Jr. (WIL198)
                                     Assistant Attorney General

ADDRESS OF COUNSEL:
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334-353-4859




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                          CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of October, 2017, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following (or by U.S. Mail to the non-CM-ECF
participants):

Larry Jerome Grady
AIS #143344
Elmore Correctional Facility
3520 Marion Spillway Road
Elmore AL 36025

                                        /s/ Gary L. Willford, Jr.
                                        Gary L. Willford, Jr. (WIL198)
                                        Assistant Attorney General




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